     Case: 1:20-cv-02093 Document #: 12 Filed: 04/02/20 Page 1 of 4 PageID #:354




                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JAMES MONEY, et al., on behalf of themselves             )
and all similarly situated individuals,                  )
                                                         )
                        Plaintiffs,                      )
                                                         )
                        v.                               )     Case No. 20 C 2093
                                                         )
J.B. PRITZKER, et al.,                                   )
                                                         )
                        Defendants.                      )


   PLAINTIFFS’ MOTION FOR AN EXPEDITED HEARING ON MOTION FOR A
   TEMPORARY RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION

        Plaintiffs, James Money, William Richard, Gerald Reed, Amber Watters, Tewkunzi

Green, Danny Labosette, Carl Reed, Carl “Tay Tay” Tate, Patrice Daniels, and Anthony

Rodesky, on behalf of themselves and the classes they seek to represent, by their undersigned

attorneys, hereby respectfully move this Court for an expedited hearing on their Emergency

Motion for a Temporary Restraining Order or Preliminary Injunction on April 3, 2020. In

support of their request, Plaintiffs state as follows:

        1.      Plaintiffs, prisoners currently incarcerated throughout the 28 facilities of the

Illinois Department of Corrections (“IDOC”), face imminent danger and irreparable harm from

the rapid and unavoidable spread of the novel coronavirus, also referred to as COVID-19.

        2.      Prisons are congregate settings that inherently make social distancing and other

imperative protective measures impossible.

        3.      On March 25, 2020, the IDOC announced the first confirmed case of COVID-19

of a prisoner at Stateville Correctional Center. Just five days later, Illinois Department of Public

Health Director Dr. Ngozi Ezike announced that twelve prisoners had been hospitalized with
    Case: 1:20-cv-02093 Document #: 12 Filed: 04/02/20 Page 2 of 4 PageID #:355




confirmed cases of COVID-19, while another 77 prisoners demonstrated symptoms but had not

yet been confirmed. On March 31, 2020, Governor Pritzker announced that at least one Stateville

prisoner had died from complications associated with COVID-19. As of today, there are 64

confirmed cases of COVID-19 at Stateville.

       4.      The exponential spread of COVID-19 at Stateville demonstrates the imminent risk

that all IDOC prisoners face while confined within IDOC’s prison facilities. It is imperative that

immediate action be taken to protect the rights and lives of the incarcerated people of Illinois.

       5.      Although Defendants have begun to transfer a small number of medically

vulnerable prisoners via medical furlough and transfer to home detention, Defendants are not

acting quickly enough to protect the lives of hundreds of thousands of vulnerable prisoners who

remain inside IDOC facilities, in congregate settings that are veritable tinderboxes waiting for

the COVID-19 match.

       6.      Plaintiffs have filed a class action lawsuit seeking protection of their federal rights

under the Constitution and the Americans with Disabilities Act.

       7.      Plaintiffs also have filed an Emergency Motion for a Temporary Restraining

Order or Preliminary Injunction. Plaintiffs urgently seek medical furlough or transfer to home

detention on electronic monitoring for prisoners whose medical conditions and age make them

particularly vulnerable to serious health complications and possibly death from COVID-19.

       8.      Prior to filing these actions, on April 1, 2020, Plaintiffs’ counsel gave notice to

the Office of Governor Pritzker, Chief Legal Counsel for the IDOC, and the Office of the

Attorney General.

       9.      In sum, the circumstances for Plaintiffs could not be more dire. Given this

extremely urgent situation, Plaintiffs hereby request that this Court schedule an expedited




                                                  2
    Case: 1:20-cv-02093 Document #: 12 Filed: 04/02/20 Page 3 of 4 PageID #:356




hearing on Plaintiffs’ Motion for Temporary Restraining Order or Preliminary Injunction on

April 2, 2020.

       Wherefore, Plaintiffs, by their undersigned counsel, respectfully request that this Court

grant their motion and schedule a hearing on Plaintiffs’ Emergency Motion for a Temporary

Restraining Order or Preliminary Injunction on April 3, 2020.

                                                     Respectfully submitted,

                                                     By: /s/ Samantha Reed
                                                        One of the attorneys for the class

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                                                3
    Case: 1:20-cv-02093 Document #: 12 Filed: 04/02/20 Page 4 of 4 PageID #:357




                             CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that she filed the foregoing document via the
Court’s CM/ECF system and served a copy on the individuals in the attached service list, on
March 31, 2020.


                                                    /s/ Samantha Reed
                                                    Samantha Reed




                                               4
